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From: Teisha Brincat
Sent: Wednesday, March 31, 2021 10:34 AM
To: 'mjohnson@rqn.com' <mjohnson@rqn.com>
Cc: Michelle Green <michelle@ggw-law.com>
Subject: Rabo AgriFinance LLC (“RAF”) Notice of Events of Default dated 2/23/21

Good Morning, Mr. Johnson,

Please see the above attached letter from Michelle Green, which has been mailed to you via USPS
Mail today.

Thank you,

-T

Teisha R. Brincat

     GeW        Teisha Brincat
                Gatens Green Weidenbach
                Paralegal

                (509) 888-2144 Work
                teisha©ggw-law.com
                305 Aplets Way
                Cashmere, WA 98815
                www.ggw-law.com




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                                                                                                                     Exhibit G
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                                       GGW
                                   GATENS I GREEN    WEIDENBACH    PLLC




Via Mail and Email: mjohnson@rqn.com


March 31, 2021

Mr. Michael Johnson
Ray Quinney & Nebeker
PO Box 45385
Salt Lake City, Utah 84145-0385

RE: Rabo AgriFinance LLC (“RAF”) Notice of Events of Default dated 2/23/21

Dear Mr. Johnson:

As you know, this law firm represents Easterday Farms Produce, Co. (“EFPC”) and 3E
Properties (“3E”). We have reviewed RAF’s Renewed Notice of Default, Demand for
Payment and Satisfaction and Full Reservation of Rights dated February 23, 2021 (the
“Notice of Default”).

In response, and on behalf of EFPC and 3E, we requested that RAF provide full payoff
calculations on the following loans, referred to as Loan Obligation Nos.     5475 and
     5485, as of March 17, 2021, to include a per diem amount for each day after March
17, 2021:

        1. RLOC Credit Agreement Loan (as defined in the Notice of Default); and
        2. RE Term Loan Credit Agreement Loan (as defined the Notice of Default).

Thereafter, RAF provided payoff statements for the above loans, as well as for the
Vendor Credit Agreement (as defined in the Notice of Default). EFPC and 3E have now
paid the RLOC Credit Agreement Loan and the RE Term Loan Credit Agreement Loan in
full, including the entirety of the attorney’s fees and costs claimed by RAF,
notwithstanding our disagreement that any such attorney’s fees and costs relate to
defaults pertaining to RLOC Credit Agreement Loan and the RE Term Loan Credit
Agreement Loan, versus the Vendor Credit Agreement.

On behalf of EFPC and 3E, and based upon the full payment of the RLOC Credit
Agreement Loan and the RE Term Loan Credit Agreement Loan, we hereby demand that
the following RAF security documents are released, terminated and/or satisfied:




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                                                                                                        Exhibit G
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    1. UCC Financing Statement 2007-193-4236-5 (Paid in full 1/1/2018) – Please note
       that EFPC and/or 3E previously requested termination 9/10/20;
    2. UCC Financing Statement 2008-178-6127-0 (Paid in full 10/1/2018) – Please
       note that EFPC and/or 3E previously requested termination 9/10/20;
    3. UCC Financing Statement 2009-265-7986-8;
    4. Mortgage, Security Agreement, Fixture Filing, & Financing Statement dated
       September 4, 2009;
    5. UCC Financing Statement 2009-268-8977-6;
    6. UCC Financing Statement 2018-247-0639-4; and
    7. Mortgage Security Agreement, Fixture Filing, & Financing Statement dated
       August 9, 2018.

Please let us know any questions.

Sincerely,




MICHELLE A. GREEN
MAG:trb
cc:  Lindy Widner via email
     Jody Easterday via email




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                                                                                                        Exhibit G
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